Case 3:13-cv-00349 Document 35-7 Filed on 12/22/14 in TXSD Page 1 of 20
Case 3:13-cv-00349 Document 35-7 Filed on 12/22/14 in TXSD Page 2 of 20
Case 3:13-cv-00349 Document 35-7 Filed on 12/22/14 in TXSD Page 3 of 20
Case 3:13-cv-00349 Document 35-7 Filed on 12/22/14 in TXSD Page 4 of 20
Case 3:13-cv-00349 Document 35-7 Filed on 12/22/14 in TXSD Page 5 of 20
Case 3:13-cv-00349 Document 35-7 Filed on 12/22/14 in TXSD Page 6 of 20
Case 3:13-cv-00349 Document 35-7 Filed on 12/22/14 in TXSD Page 7 of 20
Case 3:13-cv-00349 Document 35-7 Filed on 12/22/14 in TXSD Page 8 of 20
Case 3:13-cv-00349 Document 35-7 Filed on 12/22/14 in TXSD Page 9 of 20
Case 3:13-cv-00349 Document 35-7 Filed on 12/22/14 in TXSD Page 10 of 20
Case 3:13-cv-00349 Document 35-7 Filed on 12/22/14 in TXSD Page 11 of 20
Case 3:13-cv-00349 Document 35-7 Filed on 12/22/14 in TXSD Page 12 of 20
Case 3:13-cv-00349 Document 35-7 Filed on 12/22/14 in TXSD Page 13 of 20
Case 3:13-cv-00349 Document 35-7 Filed on 12/22/14 in TXSD Page 14 of 20
Case 3:13-cv-00349 Document 35-7 Filed on 12/22/14 in TXSD Page 15 of 20
Case 3:13-cv-00349 Document 35-7 Filed on 12/22/14 in TXSD Page 16 of 20
Case 3:13-cv-00349 Document 35-7 Filed on 12/22/14 in TXSD Page 17 of 20
Case 3:13-cv-00349 Document 35-7 Filed on 12/22/14 in TXSD Page 18 of 20
Case 3:13-cv-00349 Document 35-7 Filed on 12/22/14 in TXSD Page 19 of 20
Case 3:13-cv-00349 Document 35-7 Filed on 12/22/14 in TXSD Page 20 of 20
